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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF PENNSYLVAN|A

RENEE CHRISTMAN, )
Plaintiff, §
vs. § CA 5-910
XPRESSBET, INC., et al., §
Defendants. §
AMBROSE, Chi€f DiStl`iCt JUdge.
ORDER OF COURT

AND NOW, this 19"‘ day of August, 2005, the parties to the above-captioned action

have reached an amicable settlement of their respective claims and stipulate that the action
may be dismissed With prejudice

lt is, accordinglv, ORDERED that the above-captioned action is hereby D|SN||SSED

With preiudice pursuant to Fed.R. Civ.P.zi*lla)l2). Entrv of the foregoing Order is hereby
consented to this 19"' day of August, 2005.
BY THE COURT:

M/\¢M

Donetta W. Ambrose,
Chief U. S. District Judge

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AttOrn€V FO|' Pla|nt|ff AttOrneV fO|` D€fendant

 

 

AttOl`neV fO\” Plaintiff AttOI`neV FO|" Def€ndant

